
498 S.W.2d 212 (1973)
Aubrey Langston McCARTY, Appellant,
v.
The STATE of Texas, Appellee.
No. 46146.
Court of Criminal Appeals of Texas.
July 11, 1973.
Rehearing Denied September 7, 1973.
*214 Jack R. Bailey and Paul R. Lawrence, Houston, for appellant.
Carol S. Vance, Dist. Atty., James C. Brough, Ronald G. Woods, Asst. Dist. Attys., Houston, Jim D. Vollers, State's Atty., and Robert A. Huttash, Asst. State's Atty., Austin, for the State.

OPINION
DALLY, Commissioner.
The conviction is for passing a forged instrument; the punishment, enhanced under the provisions of Article 63, Vernon's Ann.P.C., life imprisonment.
The first ground of error asserts the appellant was deprived of the right to a speedy trial.
The offense is alleged to have occurred on June 2, 1967. On July 8, 1967, the appellant was arrested in Knox County, Tennessee for an offense committed in that state. He was tried, convicted and imprisoned in Tennessee. The record does not clearly show when the appellant was accused of the offense in this case or when a detainer was placed on him by the authorities of this State. The instant indictment was returned December 9, 1968. The appellant was transferred on May 13, 1970, from the Tennessee prison system to a federal prison to serve time for a Federal offense. The appellant was returned to Harris County on June 14, 1971, and an attorney appointed to represent him. A pretrial hearing was had on July 12, 1971, and after another hearing on July 21, 1971, his trial before a jury was commenced on the next day, resulting in the conviction from which he appeals.
The right to a speedy trial in a State case is guaranteed by the Sixth Amendment to the Constitution of the United States as applied through the Fourteenth Amendment. Klopfer v. North Carolina, 386 U.S. 213, 87 S.Ct. 988, 18 L.Ed. 2d 1 (1967); Smith v. Hooey, 393 U.S. 374, 89 S.Ct. 575, 21 L.Ed.2d 607 (1969); Dickey v. Florida, 398 U.S. 30, 90 S.Ct. 1564, 26 L.Ed.2d 26 (1970). The same rights are assured by Article 1, Section 10 of the Constitution of the State of Texas, Vernon's Ann.St. and Article 1.05, Vernon's Ann.C.C.P.
A "balancing test" to determine whether an accused has been denied the right to a speedy trial under the United States constitutional provision has been formulated by the Supreme Court in the recent case of Barker v. Wingo, 407 U.S. 514, 92 S.Ct. 2182, 33 L.Ed.2d 101 (1972). The guidelines set out by the Supreme Court which must be applied to each individual case require consideration of (1) the length of delay; (2) the reason for the delay; (3) defendant's assertion of his right, and (4) the prejudice to the defendant. We will consider each of these criteria as applied to the case at bar.


*215 LENGTH OF DELAY
"The length of the delay is to some extent a triggering mechanism. Until there is some delay which is presumptively prejudicial, there is no necessity for inquiry into the other factors that go into the balance. Nevertheless, because of the imprecision of the right to speedy trial, the right of delay that will provoke such an inquiry is necessarily dependent upon the particular circumstances of the case." Barker v. Wingo, 92 S.Ct. 2182 at page 2192.
In determining whether a speedy trial has been denied, the length of delay is measured from the time the defendant was accused. United States v. Marion, 404 U. S. 307, 92 S.Ct. 455, 30 L.Ed.2d 468 (1971). In this case the appellant was arrested in another state for another offense. As already noted, the exact time when the appellant was accused and the exact time which this State's detainer was requested are not clearly shown in this record. The time between the return of the indictment and the trial was some two years and seven months. Such a delay is not, per se, a deprivation of the appellant's right to a speedy trial, but is a fact requiring further consideration of the appellant's claim. Barker v. Wingo, supra, and see Courtney v. State, 472 S.W.2d 151 (Tex.Cr.App. 1971); Harris v. State, 489 S.W.2d 303 (Tex.Cr.App.1973); McKinney v. State, 491 S.W.2d 404 (Tex.Cr.App.1973).

REASON FOR THE DELAY
In considering the reason for the delay it is said by the Supreme Court that different weight should be assigned to different reasons. A deliberate attempt to delay the trial in order to hamper the defense would be weighed heavily against the State. A more neutral reason such as negligence, or overcrowded courts, should be weighed less heavily, but nevertheless should be considered since the ultimate responsibility of such circumstances must rest with the State rather than the defendant. Barker v. Wingo, supra; Strunk v. United States, 412 U.S. 434, 93 S.Ct. 2260, 37 L.Ed.2d 56 (1973).
The reason for the delay in this case is not well developed in the record. The appellant was incarcerated for almost the entire period of time either by Tennessee State authorities or by Federal authorities. The State had made some inquiries and some efforts toward returning the appellant to Texas for trial while he was imprisoned in Tennessee. Before these efforts were consummated he was transferred to the Federal prison. During this time the appellant was bombarding State and Federal Courts with various motions to gain a dismissal of his case rather than a speedy trial. There is no showing that the State intentionally delayed appellant's trial at any stage. There is little to show that the State was negligent in returning the appellant for trial under the circumstances.

APPELLANT'S ASSERTION OF HIS RIGHTS
The failure of the defendant to assert his right would make it difficult for a defendant to prove that he was denied a speedy trial. The strength of his efforts must be considered along with the length of the delay, the reason for the delay, and particularly by the personal prejudice which is occasioned by the delay. The defendant's assertion of, or failure to assert his right to a speedy trial is but one of the factors to be considered in the overall inquiry into the deprivation of the right. Barker v. Wingo, supra.
The appellant's first request for a speedy trial was received by the Harris County District Attorney's Office on December 26, 1969.
In considering the numerous motions filed by the appellant in the various courts, it is fair to say his prime object was not to gain a speedy trial, but was an attempt to *216 have the charge against him dismissed. Although these various motions served as notice to the prosecutors, they somewhat weaken the appellant's present claim that he purposefully pursued and asserted his right to a speedy trial at all times.[1]*217


*218 PREJUDICE TO THE DEFENDANT
The three interests to be considered in determining prejudice to the defendant are: (1) prevention of oppressive pretrial incarceration; (2) minimizing anxiety and concern of the accused, and (3) limiting the possibility that the defense will be impaired. Barker v. Wingo, supra; see also, United States v. Ewell, 383 U.S. 116, 86 S.Ct. 773, 15 L.Ed.2d 627; Smith v. Hooey, supra; Klopfer v. North Carolina, supra; Harris v. State, supra, and McKinney v. State, supra.
During almost the entire time in question, the appellant was in custody under convictions in other jurisdictions. Under these circumstances we are therefore mainly concerned with whether or not appellant's ability to defend himself was prejudiced by the delay. Harris v. State, supra.
Although a showing of "actual prejudice" is not required in Texas, the burden is on the accused to make some showing of prejudice which was caused by the delay of his trial. Harris v. State, supra, and Courtney v. State, supra.
The appellant makes a rather weak claim that he was deprived of an alibi witness and certain character witnesses.[2]
When non-availability of witnesses is the basis of the alleged prejudice, an appellant must show that the witnesses were unavailable at the time he was tried; that their testimony may be relevant and material to his defense, and that due diligence was exercised in an attempt to locate such witnesses at the time he was tried. This would constitute some showing of prejudice. Harris v. State, supra.
The appellant in this case has failed to make such proof. No subpoenas were issued and no other efforts were shown to have been made to secure the trial attendance of the alleged missing witnesses. Appellant made no motion for continuance in order to locate these witnesses as was done in Dickey v. Florida, supra. The appellant made no request for investigative funds which are provided for in Article 26.05 § 1(d), V.A.C.C.P. We conclude that the appellant has not made "some showing of prejudice."
It is also appropriate to consider the strength of the State's case. The State's proof in this case consisted of close-up photographs of the appellant and the checks which were allegedly passed, which were shown to have been made at the time the checks were passed, the checks themselves, and the testimony of the witnesses to whom the checks were passed. We must view the appellant's claim that he was deprived of an alibi witness in light of such clear and overwhelming evidence.
Considering all of the factors, including the strength of the State's case, we find that the appellant was not prejudiced by the delay in his ability to defend himself. Barker v. Wingo, supra; Harris v. State, supra; McKinney v. State, supra, and Courtney v. State, supra. See State v. Bishop, 493 S.W.2d 81 (Tenn.S.Ct.1973).
Applying the balancing test of Barker v. Wingo, supra, we find no denial of appellant's right to a speedy trial, and overrule his contention.
The next complaint is that: "The habitual criminal statute was unconstitutionally applied to appellant, as it deprived the appellant *219 of the equal protection under the laws as guaranteed by the Fourteenth Amendment."
The appellant was charged as a recidivist and the primary offense charged has a comparatively light maximum penalty. It is appellant's contention that he was not equally treated because his bargaining power on a plea of guilty was less than one who was charged as a recidivist where the primary offense has a greater maximum penalty. He argues that a prosecutor will more readily enter into a plea bargain where the maximum penalty for the previous offense is, for example, twenty-five years as opposed to five years. This argument is without merit because it erroneously assumes that a defendant has a constitutional right to a plea bargain. This ground of error is overruled.
The next contention is: "There was error in the trial court when it refused to order or allow a psychiatric examination of appellant to determine his competency at the time the alleged offense occurred."
In his argument under this ground of error the appellant relies upon Pate v. Robinson, 383 U.S. 375, 86 S.Ct. 836, 15 L.Ed. 2d 815 (1966), and Morales v. State, 427 S.W.2d 51 (Tex.Cr.App.1968). These cases are concerned with an accused's competence to stand trial. As was pointed out in Nilsson v. State, 477 S.W.2d 592 (Tex.Cr. App.1972) insanity as a defense should not be confused with the issue of present competency to stand trial.
The facts in the record in relation to this alleged ground of error show it to be non-meritorious. Appellant first requested a psychiatric examination on July 21, 1971, during a hearing on his motion to dismiss the indictment. The court overruled appellant's motion, but sua sponte requested a designated psychiatrist to examine the appellant before court convened the following day. An examination was made by that psychiatrist and his testimony appears in the record. The appellant did not further pursue the matter until August 19, 1971, when, at the time of filing an amended motion for new trial, a written motion requesting a psychiatric examination of the appellant was also filed. This motion was not presented to the trial court until October 21, 1971, at which time the court overruled the motion. The issue of insanity at the time of the commission of the offense is a defensive issue which must be raised during the course of the trial on the merits. See Cross v. State, 446 S.W.2d 314 (Tex.Cr.App.1969) and Fuller v. State, 423 S.W.2d 924 (Tex.Cr.App.1968).
The last ground of error complains of the admission into evidence of other separate offenses.
Two checks which were drawn on the same day, on the same bank, in favor of the same payee and signed by the same purported maker as the check for which the appellant was being tried, were admitted into evidence. Photographs of the appellant and the two checks made when these checks were passed and evidence that they had been forged were also admitted.
This evidence, even though it revealed extraneous offenses, was admissible to prove the essential element of the offense of passing a forged instrument that the appellant knew the instrument was a forgery when he passed it. Albrecht v. State, 486 S.W.2d 97 (Tex.Cr.App.1972).
The judgment is affirmed.
Opinion approved by the Court.
ONION, Presiding Judge (dissenting).
Believing that the appellant was denied his right to a speedy trial, I dissent.
NOTES
[1]  A chronology and summary of the appellant's efforts to gain a speedy trial and the official action taken as reflected by the record follows:
December 9, 1968      Indictment returned.
July 2, 1969          Letter from appellant to
                      the District Attorney of
                      Harris County in part
                      reading: "Request that
                      your office remove from
                      against me all charges
                      and detainer warrants
                      you have so issued." No
                      mention of speedy trial
                      was made.
October, 1969         Appellant was sent to
                      Bush Mountain Prison
                      unit in Tennessee.
December 26, 1969     Letter from appellant to
                      the District Attorney of
                      Harris County stating:
                      "You will treat this letter
                      as a Habeas Corpus
                      petition ad-prosequendom
                      requesting immediate
                      trial under the fair and
                      speedy trial clause of the
                      Sixth Amendment to the
                      Federal Constitution,"
                      and ". . . afford me
                      a trial forthwith or withdraw
                      the `detainer warrant'
                      ..."
January 15, 1970      Letter from the District
                      Attorney of Harris County
                      to the Tennessee Department
                      of Corrections
                      which acknowledges appellant's
                      request for a
                      speedy trial and request
                      the procedures which the
                      Tennessee authorities will
                      require for the return of
                      the appellant for trial in
                      Texas.
March 4, 1970         Letter from the Tennessee
                      authorities outlining
                      the procedures for returning
                      appellant to Harris
                      County for trial. It
                      stated that Tennessee authorities
                      would require
                      that extradition be utilized,
                      coupled with an
                      executive agreement.
May 8, 1970           Appellant was transferred
                      to Federal prison at Texarkana.
September 15, 1970    Letter from appellant to
                      the District Attorney of
                      Harris County which outlines
                      the past history
                      of appellant's communications
                      and informs the District
                      Attorney that he is
                      now in Federal prison
                      and request "that your
                      office remove all charges
                      and detainer warrant
                      from against me." Letter
                      makes no request for
                      a speedy trial.
December 1, 1970      Appellant, then a Federal
                      prisoner, filed a writ
                      requesting the Supreme
                      Court of Texas to issue
                      an order to the District
                      Attorney of Harris County
                      to withdraw the detainer
                      warrant and to enjoin
                      the District Attorney
                      from taking action on
                      those warrants. No request
                      for a speedy trial
                      was made.
December 4, 1970      Letter from a representative
                      of the Supreme Court
                      of Texas to appellant advising
                      him that the Court
                      had "no jurisdiction to
                      grant you the relief you
                      seek."
December 17, 1970     Letter from a representative
                      for the Supreme
                      Court of Texas to appellant.
                      Apparently, appellant
                      made a reply by letter
                      to the December 1,
                      1970, letter of the Supreme
                      Court; however,
                      it does not appear in the
                      record. This letter by the
                      Supreme Court again informs
                      appellant that the
                      Court has no jurisdiction
                      to grant the relief sought,
                      stating that the Supreme
                      Court "cannot direct a
                      trial court to withdraw
                      detainers, see Pope v.
                      Ferguson, copy of which
                      is attached."
January 18, 1971      Appellant filed a writ of
                      habeas corpus in the Federal
                      District Court of the
                      Southern District of Texas.
                      Appellant misstated
                      the facts concerning the
                      State's reaction to his request
                      for a speedy trial.
                      The request was for dismissal
                      of the charge
                      against appellant.
March 12, 1971        The Federal District
                      Court entered a judgment
                      and an order dismissing
                      the writ for failure
                      to exhaust appellant's
                      State remedies.
March 19, 1971        Appellant filed a "Petition
                      for Writ of Mandamus"
                      with the Court
                      of Criminal Appeals. Request
                      order to have Harris
                      County give appellant
                      a speedy trial. Appellant
                      claims that his December
                      26, 1969, letter was a Petition
                      for speedy trial
                      filed in State District
                      Court in Harris County,
                      while in fact that letter
                      was directed to the
                      Harris County District
                      Attorney's Office.
April 6, 1971         Letter from a representative
                      for the Supreme
                      Court of Texas stating
                      to the appellant that his
                      Petition for Writ of Mandamus
                      which he had
                      mailed to the Clerk of
                      this Court had been
                      transferred to the Supreme
                      Court because the
                      Supreme Court alone had
                      jurisdiction to grant the
                      requested relief of speedy
                      trial, and requested appellant
                      advise the Court
                      in which District Court
                      his case was pending.
April 14, 1971        Letter from appellant to
(Date received)       the Supreme Court of
                      Texas replying to the
                      Court's April 6th letter
                      stating the indictment
                      numbers, but that he did
                      not know in which Harris
                      County District Court
                      the indictments were
                      pending. Appellant's letter
                      read in part: "This
                      petitioner would ask that
                      you regard this letter as
                      a motion for dismissal."
April 14, 1971        A representative of the
                      Supreme Court of Texas
                      by letter again informed
                      appellant that the Court
                      could not order dismissal
                      of the indictments pending
                      against him. He was
                      again cited to Pope v.
                      Ferguson. The Court
                      again offered to assist in
                      obtaining a speedy trial
                      for appellant and requested
                      appellant inform the
                      Court if he still wished a
                      speedy trial.
April 26, 1971        Appellant filed his second
                      Writ of Habeas Corpus
                      with the Federal District
                      Court of the Southern
                      District of Texas requesting
                      the dismissal of the
                      charge against him.
May 13, 1971          Letter from the District
                      Attorney of Harris County
                      to appellant. Informs
                      appellant that, due to the
                      heavy docket, that the
                      earliest he could be tried
                      is July 21, 1971. He was
                      also informed that he was
                      going to be released on
                      or before July 14, 1971,
                      from the Federal prison
                      and that he would be
                      brought to Harris County
                      and an attorney would be
                      appointed for him.
May 19, 1971          Appellant filed a second
                      Petition for Writ of Mandamus
                      with the Court
                      of Criminal Appeals expressly
                      seeking dismissal
                      of the charge against him.
                      Appellant asserted that,
                      due to the length of delay,
                      that an offer of a
                      speedy trial by the Supreme
                      Court of Texas was
                      "a bit ridiculous."
June 2, 1971          Letter from the Administrative
                      Assistant of this
                      Court again explaining
                      that neither this Court
                      nor the Supreme Court
                      could grant the relief of
                      dismissal. He informed
                      appellant that a speedy
                      trial could be obtained if
                      he so desired.
June 14, 1971         Appellant was returned
                      to Harris County and an
                      attorney was appointed
                      for appellant.
July 12, 1971         Pretrial motion heard.
July 20, 1971         Federal District Court
                      dismissed writ because
                      the appellant was now in
                      Harris County and a
                      proper State Court could
                      decide the speedy trial
                      issue.
July 21, 1971         Second pretrial motion
                      heard.
July 22, 1971         Trial on the merits.

[2]  The appellant's testimony concerning the alleged alibi witness, a female companion, was as follows:

"Q. All right, sir. Did you know a L______ T______?
A. Yes, sir.
A. We were together at the time of these alleged offenses. I will state, because it will come out anyway and it is relevant, that I did live with L_____ for several, a number of months."
When asked in what manner her testimony might aid in his defense appellant replied:
"A. As to my whereabouts and behavior and activities at that time."

